Court of Appeals
of the State of Georgia

                                                              ATLANTA, August 21, 2024

The Court of Appeals hereby passes the following order

A25D0020. JOHN TAYLOR et al v. BLACKSTONE RESIDENTIAL OPERATING
    PARTNERSHIP, LP.


     Upon consideration of the Application for Discretionary Appeal, it is ordered that it be

hereby DENIED.


LC NUMBERS:

SUCV2021002723




                                      Court of Appeals of the State of Georgia
                                           Clerk's Office, Atlanta, August 21, 2024.

                                           I certify that the above is a true extract from the minutes
                                      of the Court of Appeals of Georgia.

                                           Witness my signature and the seal of said court hereto
                                      affixed the day and year last above written.

                                                                         , Clerk.
